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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                  MEMORANDUM AND ORDER

                                                    10-CR-627(KAM)
 COURTNEY DUPREE, THOMAS FOLEY, AND
 RODNEY WATTS,

                     Defendants.
 -----------------------------------X

 MATSUMOTO, United States District Judge:

                                INTRODUCTION

             The government charges defendants Courtney Dupree

 (“Dupree”) and Thomas Foley (“Foley”) with various counts of

 Bank Fraud, Making a False Statement, and Conspiracy to Commit

 Bank, Mail, and Wire Fraud.       Presently before the court are the

 government’s motions in limine to admit and preclude certain

 evidence at trial pursuant to Federal Rules of Evidence 401,

 402, 403, 801, and 803.       For the following reasons, the court

 grants in part and denies in part the government’s motions.

                                 BACKGROUND 1

             I.    The Charges Against Defendants

             Defendant Dupree is charged in all five counts of a

 five-count second superseding indictment, and Foley is charged

 in three counts of the same indictment.          (See ECF No. 295,
             1
                Familiarity with the facts and prior opinions of this court in
 this matter is presumed and only the background relevant to this motion is
 set forth below.


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 Superseding Indictment (“S-2 Indictment”).)           A third co-

 defendant, Rodney Watts (“Watts”) (together with Dupree and

 Foley, “defendants”), is charged in four counts of the S-2

 Indictment, and his trial has been stayed pending a Second

 Circuit appeal. (See Minute Entry dated October 17, 2011.)

             Count One charges all defendants with Conspiracy to

 Commit Bank, Mail, and Wire Fraud in violation of 18 U.S.C.

 §§ 1349, 3551 et seq.       (S-2 Indictment ¶¶ 18-19.)        Count Two

 charges all defendants with Bank Fraud in violation of 18 U.S.C.

 §§ 1344, 2, 3551 et seq.       (Id. ¶¶ 20-21.)     Count Three charges

 defendants Dupree and Watts with Making a False Statement in

 violation of 18 U.S.C. §§ 1014, 2, 3551 et seq.             (Id. ¶¶ 22-23.)

 Count Four charges all defendants with Making a False Statement

 by “knowingly and intentionally mak[ing] a false statement and

 report, and willfully overvalu[ing] property and security, for

 the purpose of influencing the action of Amalgamated Bank upon

 one or more loans” in violation of 18 U.S.C. §§ 1014, 2, 3551 et

 seq.   (Id. ¶¶ 24-25.)      Finally, Count Five charges only

 defendant Dupree with an additional count of Bank Fraud in

 violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.             (Id. ¶¶ 26-27.)

             The S-2 Indictment charges that Dupree was the

 president and chief executive officer of GDC Acquisitions, LLC

 (“GDC”) and that Foley was GDC’s outside counsel and

 subsequently its chief operating officer.          (Id. ¶ 2-3.)      Watts

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 is charged as having been GDC’s chief financial officer and

 chief investment officer.      (Id. ¶ 4.)      The first four counts

 arise out of an alleged scheme to defraud Amalgamated Bank

 (“Amalgamated”), a financial institution, and C3 Capital, LLC, a

 private equity investment firm, by obtaining, and attempting to

 obtain, loans for GDC and its subsidiaries on the basis of false

 financial statements and other material misrepresentations

 between January 2007 and July 2010.          (Id. ¶¶ 5, 6, 8.)

             Count Five was originally added in a superseding

 indictment filed on March 25, 2011 (ECF No. 155, Superseding

 Indictment (“S-1 Indictment”)), and charges only Dupree with an

 additional count of bank fraud for “knowingly and intentionally

 execut[ing] and attempt[ing] to execute a scheme and artifice to

 defraud Amalgamated Bank, and to obtain moneys, funds, credits

 and other property owned by, and under the custody and control

 of, Amalgamated Bank, by means of materially false and

 fraudulent pretenses, representations and promises” between

 August 4, 2010 and March 1, 2011.          (S-2 Indictment ¶ 27.)

             II.   The Instant Motion

             The government’s motions in limine consist of the

 following requests:     (1) preclude references to the possible

 consequences of defendants’ potential convictions and

 punishment; (2) preclude cross-examination or direct testimony

 concerning a government witness’s treatment for depression; (3)

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 preclude cross-examination regarding a government witness’s

 husband, who is a former Federal Bureau of Investigation (“FBI”)

 agent; (4) preclude evidence regarding defendants’ allegations

 of prosecutorial misconduct; (5) admit recordings of

 coconspirator statements on a conditional basis at trial,

 subject to the later submission of the evidence needed to

 establish the prerequisites for admission of coconspirator

 statements under Federal Rule of Evidence 801(d)(2)(E); and (6)

 admit against Dupree a temporary restraining order issued in a

 related, concurrent state court proceeding.            (ECF No. 359, First

 Motion in Limine by USA (“Mot.”).)

             Dupree and Foley both filed responses opposing the

 government’s motions in limine.        (ECF No. 382, Foley’s Response

 in Opposition to First Motion in Limine by USA (“Foley Opp’n”);

 ECF No. 383, Dupree’s Response in Opposition to First Motion in

 Limine by USA (“Dupree Opp’n”).)          The government filed a reply

 to Foley’s and Dupree’s opposition papers.           (ECF No. 403, Reply

 to Response in Opposition to First Motion in Limine by USA

 (“Reply”).)     Finally, Foley filed an unauthorized sur-reply to

 the government’s reply papers. 2 (ECF No. 417, Motion in Limine


             2
                The Third Amended Criminal Pretrial Scheduling Order required
 all briefing on any pretrial motions, including motions in limine, to be
 provided to the court by October 24, 2011. (ECF No. 331, Third Amended
 Pretrial Scheduling Order.) Foley filed his sur-reply on October 31, 2011
 without notifying or seeking permission from the court. The court will,
 however, consider Foley’s sur-reply despite its untimeliness because it was a
 narrowly tailored reply.

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 Sur-Reply (“Foley Sur-Reply”).)       The court has considered all of

 the foregoing submissions, and each of the government’s motions

 in limine will be discussed in turn.

                                 DISCUSSION

             I.    Standard for a Motion in Limine

             The purpose of a motion in limine is to allow the

 trial court to rule on the admissibility and relevance of

 certain forecasted evidence before the evidence is actually

 offered at trial.     See Luce v. United States, 469 U.S. 38, 40

 n.2 (1984); Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir.

 1996).    “Evidence should be excluded on a motion in limine only

 when the evidence is clearly inadmissible on all potential

 grounds.”    United States v. Paredes, 176 F. Supp. 2d 179,

 181 (S.D.N.Y. 2001). Courts considering a motion in limine may

 reserve decision until trial so that the motion is placed in the

 appropriate factual context.       See Nat’l Union Fire Ins. Co. v.

 L.E. Myers Co. Grp., 937 F. Supp. 276, 286-87 (S.D.N.Y. 1996).

 Furthermore, the court’s ruling regarding a motion in limine is

 “subject to change when the case unfolds, particularly if the

 actual testimony differs from what was [expected].”             Luce, 469

 U.S. at 41.




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             II.   Admissibility of Evidence Pursuant to the Federal
                   Rules of Evidence

             The Federal Rules of Evidence govern the admissibility

 of evidence at trial.       Rule 402 requires that evidence be

 relevant to be admissible.       Fed. R. Evid. 402.         Relevant

 evidence is defined as evidence “having any tendency to make the

 existence of any fact that is of consequence to the

 determination of the action more probable or less probable than

 it would be without the evidence.”         Fed. R. Evid. 401.        The

 court’s determination of what constitutes “relevant evidence” is

 guided by the nature of the charges and the defendants’ defense

 theories.

             In addition to the relevancy of the evidence that the

 government seeks to admit or preclude, however, such evidence is

 subject to the probative-prejudice balancing test of Federal

 Rule of Evidence 403.       Rule 403 permits the exclusion of

 evidence, even if relevant, “if its probative value is

 substantially outweighed by the danger of unfair prejudice,

 confusion of the issues, or misleading the jury, or by

 considerations of undue delay, waste of time, or needless

 presentation of cumulative evidence.”         Fed. R. Evid. 403.         The

 Second Circuit has stated that the “district court is obviously

 in the best position to do the balancing mandated by Rule 403,

 and, accordingly, this Court grants ‘broad discretion’ to the


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 district court to admit or exclude evidence pursuant to Rule

 403.”   United States v. George, 266 F.3d 52, 63 (2d Cir. 2001)

 (quoting United States v. Birney, 686 F.2d 102, 106 (2d Cir.

 1982)) (internal citation and quotation marks omitted).              The

 court applies the foregoing analysis to the government’s pending

 motions.

             III. The Government’s Motions in Limine

                   A.   Preclusion of References to the Possible
                        Consequences of Conviction

             The government moves to preclude the defense from

 making any references at trial to the possible consequences of

 any punishment the defendants may receive if they are convicted.

 (Mot. at 1.)    Dupree argues in response that “[i]f the

 government believes that a statement or question by the defense

 is inappropriate due to a reference to the consequences of

 conviction, it should exercise its right to object at that

 time,” and that a ruling at this time precluding such references

 would be “unfair and prevent Mr. Dupree from putting on a

 vigorous defense.”     (Dupree Opp’n at 1.)       Foley only opposes

 this motion to the extent it seeks to restrict cross-examination

 of prosecution witnesses on issues relating to their cooperation

 agreements.    (Foley Opp’n at 1.)       Because the government’s

 motion only seeks preclusion of references to the possible

 consequences of defendants’ potential convictions and not any


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 other witnesses, the court does not consider Foley’s objection

 to this particular motion. 3

                 It is firmly established law that the jury has a

 limited function − to determine guilt or the lack thereof - and

 that the jury has no role in sentencing with the exception of

 certain types of cases, such as capital cases, that are not

 relevant here.       In Shannon v. United States, 512 U.S. 573

 (1994), the Supreme Court stated the following about a jury’s

 role at trial and whether jurors should hear evidence of the

 possible consequences of a defendant’s convictions:

       It is well established that when a jury has no
       sentencing function, it should be admonished to reach
       its verdict without regard to what sentence might be
       imposed.     The principle that juries are not to
       consider the consequences of their verdicts is a
       reflection of the basic division of labor in our legal
       system between judge and jury. The jury’s function is
       to find the facts and to decide whether, on those
       facts, the defendant is guilty of the crime charged.
       The judge, by contrast, imposes sentence on the
       defendant after the jury has arrived at a guilty
       verdict.   Information regarding the consequences of a
       verdict is therefore irrelevant to the jury’s task.
       Moreover,   providing jurors    sentencing  information
       invites them to ponder matters that are not within

             3
                The defendants mistakenly construe the government’s motion to
 seek preclusion of the possible consequences of punishment for all witnesses,
 including the defendants. As clarified by the government:

       The government has moved to preclude the defense from making any
       reference to the possible consequences of punishment to the
       defendants should the defendants be convicted. The government is
       not moving to preclude the defendants from cross-examining
       government witnesses about their cooperation agreements or
       allocutions, or from cross-examining a witness about the
       consequences to him or her should he or she be convicted.

 (Reply at 1 (emphasis in original).)

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       their province, distracts them from their factfinding
       responsibilities, and creates a strong possibility of
       confusion.

 Id. at 579 (emphasis added) (internal citations and quotation

 marks omitted).

             Applying Shannon, which held that a district court is

 not required to instruct the jury regarding the consequences to

 the defendant of an acquittal by reason of insanity, the Second

 Circuit found that Shannon “makes clear that defendant had no

 legal right to a charge informing the jury of the sentencing

 consequences of its decisions.”       United States v. Pabon-Cruz,

 391 F.3d 86, 94 (2d Cir. 2004) (holding that defendant was not

 entitled to a jury instruction on the sentence he could

 receive).    More recently, the Second Circuit reaffirmed that

 Shannon and Pabon-Cruz remain controlling precedent and reversed

 a district court’s finding that the defendant had a Sixth

 Amendment right to have the jury instructed on the applicable

 mandatory minimum sentence.       United States v. Polouizzi, 564

 F.3d 142, 160-61 (2d Cir. 2009).

             Because of the jury’s limited role in fact-finding,

 the possible consequences of a defendant’s conviction are

 irrelevant and potentially confusing and misleading to the jury.

 See United States v. Blume, 967 F.2d 45, 49 (2d Cir. 1992)

 (“Federal courts usually instruct juries not to consider a

 verdict’s consequences.” (citation omitted)); Brown v. Artus,

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 No. 04 Civ. 3601 (DLC)(KNF), 2008 U.S. Dist. LEXIS 104863, at

 *26 (S.D.N.Y. Dec. 24, 2008) (“‘Where the jury is permitted to

 speculate concerning a defendant’s possible punishment, a jury

 cannot properly perform th[e] function’ of ‘determin[ing] guilt

 or innocence based upon an impartial consideration of the

 evidence, unswayed by emotion, fear or prejudice.’” (quoting

 United States v. Cook, 776 F. Supp. 755, 757 (S.D.N.Y. 1991)));

 United States v. Maisonneuve, 954 F. Supp. 114, 116 (D. Vt.

 1997)(“It is well settled that juries are not to consider

 penalties in reaching their verdicts.”).

             While the Second Circuit has left open the possibility

 that “in some, albeit limited, circumstances it may be

 appropriate to instruct the jury regarding th[e] consequences”

 of its verdict, Polouizzi, 564 F.3d at 161, the court finds that

 this is not one of those limited circumstances. 4            Because of the

 established precedent that jurors should not be informed about

 the possible consequences of their verdict and the potential

 prejudice, unfairness, and confusion that could result from

             4
                The Supreme Court in Shannon provided one example of when it
 may be appropriate to instruct the jury regarding the consequences of its
 verdict: “If . . . a witness or prosecutor states in the presence of the
 jury that a particular defendant would ‘go free’ if found [not guilty by
 reason of insanity], it may be necessary for the district court to intervene
 with an instruction to counter such a misstatement.” Shannon, 512 U.S. at
 587. The Second Circuit recognized, however, that “[t]he Shannon Court’s
 reasoning suggests that an instruction might be appropriate in such
 circumstances because the jury’s attention already has been drawn in an
 unfair and misleading way ‘toward the very thing − the possible consequences
 of its verdict − it should ignore.’” Polouizzi, 564 F.3d at 162 (quoting
 Shannon, 512 U.S. at 586).


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 allowing defense counsel to refer to defendants’ possible

 punishments, the court grants the government’s motion to exclude

 any references to the possible consequences of defendants’

 convictions.

                   B.   Preclusion of Cross-Examination or Direct
                   Testimony Concerning a Government Witness’s
                   Treatment for Depression

             The government moves to preclude any testimony,

 whether by direct testimony or on cross-examination, of a

 government witness’s treatment for depression while employed by

 the defendants.     (Mot. at 2.) 5    Specifically, according to

 materials disclosed by the government in compliance with its

 obligations under the Jencks Act, 18 U. S. C. § 3500 (“Jencks

 Materials”), the witness has stated that she visited a

 psychiatrist approximately three times from 1993 to 1994 for

 depression, and that in 2009, she took anti-anxiety medication

 prescribed by a general practitioner for approximately six

 months.   (Reply at 2-3.)      The witness characterized the anti-

 anxiety medication as “a very mild drug.” 6         No other information

 regarding the witness’s medical history is known by the parties,

 which do not have the witness’s medical records in their


             5
                The name of the witness, while disclosed to the court in the
 government’s reply brief, is not necessary to understanding this court’s
 decision and will not be mentioned to protect the witness’s privacy.
             6
                Although the government’s motion suggests that the anti-anxiety
 medication was prescribed to treat depression, there is no indication, on the
 record before the court, of such a purpose for the prescribed medication.

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 possession and do not seek in their papers to introduce any of

 the witness’s medical records as evidence at trial.             (See Dupree

 Opp’n at 5, 7; Reply at 2.)

             The government asserts that any testimony regarding

 the witness’s treatment for or diagnosis of depression should be

 precluded because such information “is irrelevant, far more

 prejudicial than probative, would serve only to harass and

 embarrass the witness, and would constitute an invasion of the

 witness’s privacy.”      (Mot. at 2.)     Furthermore, the government

 contends that “[t]here is no indication that the witness’s

 ability to perceive and recall events or to testify accurately

 was affected by depression.”        (Id. at 2.)    Dupree argues in

 response that precluding such testimony would violate the

 defendants’ Sixth Amendment Right of Confrontation because the

 mental condition or treatment of the government witness during

 the dates of the alleged conspiracy, from January 2007 to July

 2010, is relevant and may have affected the witness’s ability to

 perceive or to recall events or to testify accurately.              (Dupree

 Opp’n at 3, 7.) 7    Foley also objects on the basis that

 “[p]sychological disorders, including depression, may influence


             7
                Dupree also requests that the court order the government to
 make available “any information in its possession that tends to call into
 question the ability of a witness to perceive or recall events accurately or
 to recount those events truthfully and accurately at a later time.” (Dupree
 Opp’n at 7 & n.6.) Because the government has stated that it does not have
 any such information in its possession that has not already been disclosed to
 the defendants (Reply at 2), the court finds Dupree’s request to be moot.

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 a witness’s perception and motivation and should properly be

 considered by a jury in evaluating the credibility of the

 witness’s testimony.”       (Foley Opp’n at 2.)

            The Sixth Amendment of the United States Constitution

 guarantees the right of an accused in a criminal prosecution to

 be confronted with the government’s witnesses against him, which

 includes the right to cross-examine the witness.             United States

 v. Vitale, 459 F.3d 190, 195 (2d Cir. 2006) (citations omitted).

 A judge may, however “impose reasonable limits on such cross-

 examination based on concerns about, among other things,

 harassment, prejudice, confusion of the issues, the witness’

 safety, or interrogation that is repetitive or only marginally

 relevant.”    Id. (citations omitted).

            “For over forty years, federal courts have permitted

 the impeachment of government witnesses based on their mental

 condition at the time of the events testified to.”             United

 States v. Butt, 955 F.2d 77, 82 (1st Cir. 1992).             In assessing

 the probative value of medical or psychological evidence, the

 Second Circuit has held that a court should consider such

 factors as “the nature of the psychological problem, the

 temporal recency or remoteness of the history, and whether the

 witness suffered from the problem at the time of the events to

 which she is to testify, so that it may have affected her

 ability to perceive or to recall events or to testify

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 accurately.”    Vitale, 459 F.3d at 196 (quoting United States v.

 Sasso, 59 F.3d 341, 347 (2d Cir. 1995)).          A condition that

 existed at the time the witness perceived the events about which

 he or she will testify is more likely to be found probative.

 See United States v. Paredes, No. 99 CR. 290 (PKL), 2001 U.S.

 Dist. LEXIS 18862, at *4 (S.D.N.Y. Nov. 20, 2001).

            First, the court finds that the witness’s three

 psychiatrist visits from 1993 to 1994 for depression are so

 remote in time to the events at issue in the trial −

 approximately thirteen years before − that any probative value of

 allowing cross-examination regarding the psychiatric visits is

 outweighed by confusion to the jury and the embarrassment to the

 witness of having to reveal, at best marginally relevant,

 private medical information.      See United States v. Bari, 750

 F.2d 1169, 1179 (2d Cir. 1984) (finding twelve-year-old

 hospitalization for paranoid schizophrenia to be “of marginal

 relevance”); United States v. Glover, 588 F.2d 876, 878 (2d Cir.

 1978) (finding that evidence concerning psychiatric treatments

 the witness received twelve years prior to trial was, inter

 alia, too remote to be admissible); Paredes, 2001 U.S. Dist.

 LEXIS 18862, at *3 (“A psychological condition from ten years

 earlier, however, is likely to be irrelevant.”).             Accordingly,

 on the basis of Rule 403’s probative-prejudice balancing test,

 the court grants in part the government’s motion by precluding

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 any testimony regarding the three psychiatric visits in 1993 and

 1994.

             Second, the court will permit the defendants to cross-

 examine the witness regarding her use of anti-anxiety medication

 in 2009 for approximately six months.         The period of time during

 which the witness used this medication occurred within the time

 period at issue in this case, from January 2007 to July 2010

 (see S-2 Indictment ¶¶ 8, 19, 21), and is therefore probative of

 the witness’s ability to perceive and recall the events about

 which she is expected to testify.        See Hernandez v. Kelly, No.

 09 CV 1576 (TLM)(LB), 2011 U.S. Dist. LEXIS 57114, at *15

 (E.D.N.Y. May 27, 2011) (finding a psychological condition at

 the time of the incident to be “an issue which bears on

 plaintiff’s ability to rationally perceive events at the time

 and to accurately recollect and report his perceptions”);

 Paredes, 2001 U.S. Dist. LEXIS 18862, at *6 (finding a

 psychological condition that existed during at least some of the

 events about which the witness is expected to testify “might

 affect her ability to testify accurately regarding those

 events”).   While the court recognizes that, on the record before

 it, there is no basis to conclude that the witness’s medical

 treatment in 2009 had any effect on the witness’s “ability to

 perceive or to recall events or to testify accurately” about the

 events at issue, Vitale, 459 F.3d at 196, without any

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 documentation establishing that there was no such effect, the

 defendants are entitled to cross-examine the witness regarding

 the medication and its effects, if any, on her perception and

 recollection.    See Butt, 955 F.2d at 82 (“The readily apparent

 principle is that the jury should, within reason, be informed of

 all matters affecting a witness’s credibility . . . .”

 (citations omitted)).

            All of the cases cited by the government support

 permitting such cross-examination.          In Vitale, the Second

 Circuit affirmed a district court’s denial of access to a

 government witness’s substance abuse treatment records, partly

 because the district court permitted defense counsel “wide

 latitude when cross-examining [the witness] about his drug use

 and rehabilitation, including questions about the effects that

 the drugs had on his ability to perceive events when they

 occurred as well as on his memory at the time of trial.”              459

 F.3d at 196.    The district court in the Vitale case allowed such

 cross-examination even though, in contrast to this case, the

 witness’s treatment occurred “several years after the pertinent

 events and had marginal probative value concerning [the

 witness’s] mental capacity during the events about which he

 testified.”    Id.

            Similarly, in Sasso, the Second Circuit affirmed a

 district court’s refusal to allow defense counsel to cross-

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 examine a government witness regarding psychiatric treatment and

 medication on the basis of remoteness where, in contrast to this

 case, “there was no evidence that [the witness] received or

 ingested any mood-altering drugs” during the relevant period.

 59 F.3d at 348.    Finally, in Butt, the First Circuit affirmed a

 district court’s refusal to admit the hospitalization report of

 a government witness into evidence and found no violation of the

 defendant’s Right of Confrontation because defense counsel was

 permitted to cross-examine the witness regarding her

 “psychological background − the nature of how she was feeling

 and her psychological problems generally − including her suicide

 attempt, hospitalization, and the contents of the psychologist’s

 report.”   955 F.2d at 86.

            Additionally, the court agrees with Dupree that

 Paredes is persuasive.      In that case, after an in camera review

 of the available psychological records, which have not been

 submitted to the court for its review in this case, the district

 court found that a government witness’s medical history did not

 “indicate any paranoid or delusional tendencies, but rather

 anxiety problems, including panic attacks, and depression.”

 Paredes, 2001 U.S. Dist. LEXIS 18862, at *5.           Because the

 psychological condition of the witness existed during at least

 some of the events about which the witness was expected to

 testify and her condition appeared to have been caused by

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 something closely related to the subject matter of her

 testimony, the court permitted the defendant to cross-examine

 the witness regarding her psychological condition.             Id. at *6-7

 (“Although disclosure of this information may be embarrassing to

 [the government witness], the defendant’s opportunity to cross-

 examine [the government witness] regarding her psychological

 condition may prove important to assessing her credibility,

 especially because [the witness] is one of only three witnesses

 the government apparently plans to call.”).

            Here, the government’s witness was the assistant

 controller of Hudson Bay Environments (“HBE”), which was

 subsequently acquired by GDC, the corporate entity at the center

 of the alleged conspiracy, where she continued to work as

 assistant controller.       The witness pleaded guilty to a single

 count of Conspiracy to Commit Bank, Mail, and Wire Fraud in

 February 2011 in connection with the same events that are the

 basis of the charges against defendants.          According to the

 Jencks Materials, the witness appears to have direct knowledge

 of the conspiracy and made several statements implicating the

 defendants in the conspiracy.       Therefore, at least at this

 juncture of the case, she is likely to be a key government

 witness and her credibility is particularly important.

            Because the witness’s use of anti-anxiety medication

 may have affected her ability to perceive or to recall events,

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 and the witness used such medication during the time period of

 the alleged conspiracy, thereby making it probative, the court

 denies in part the government’s motion to preclude testimony

 concerning the medication.      The court will, however, only permit

 the defendants to cross-examine the witness about the following

 topics:   (1) the nature and quantity of the medication

 prescribed; (2) the dates of use; (3) the purpose for which the

 witness was prescribed the medication; and (4) whether the

 medication affected the witness’s ability to perceive and recall

 events or to testify accurately about the facts at issue in the

 case.   There shall be no other topics of cross-examination

 regarding the witness’s history of mental health and no

 documents shall be admitted with respect to the medication.

 These limits on cross-examination should adequately protect

 defendants’ Sixth Amendment rights and minimize the

 embarrassment to the witness of such testimony and any confusion

 of the issues by the jury.

                  C.    Preclusion of Cross-Examination Regarding
                        Veronica Finn’s Husband

            The government moves to preclude the defendants from

 cross-examining government witness Veronica Finn regarding her

 husband, Martin Finn, who is a retired FBI agent.             Ms. Finn

 served as the controller of one of GDC’s subsidiaries from May




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 2004 to September 2006 and then became the chief administrative

 officer.   (Dupree Opp’n, Ex. A. at 1.)

            As found by this court in a prior decision denying

 defendants’ claims of prosecutorial misconduct in executing a

 search of GDC’s offices in July 2010, there is a factual dispute

 regarding the circumstances under which Mr. Finn arrived at GDC

 and the areas to which he was allowed access while the FBI

 searched the premises.      (ECF No. 133, Memorandum and Order);

 United States v. Dupree, 781 F. Supp. 2d 115, 161 (E.D.N.Y.

 2011).   The defendants claimed, and still claim, that Mr. Finn

 “played a role in shielding his wife from criminal liability and

 assisting the FBI during their search of the [GDC] offices,”

 that he “chose to remain present throughout the search,” and

 that “he also had conversations with certain witnesses and

 potential witnesses” during the search.          (Dupree Opp’n at 10);

 Dupree, 781 F. Supp. 2d at 161.       In contrast, the government

 contends that Mr. Finn only arrived at GDC’s offices during the

 search in response to a phone call by Ms. Finn, that there is no

 evidence that Ms. Finn’s “testimony would be tainted by her

 husband’s arrival” at the search, and that Mr. Finn “did not

 play any role in the investigation of this case and he was

 unaware of this case prior to the defendants’ arrests.”              (Mot.

 at 3); see also Dupree, 781 F. Supp. 2d at 161-62.



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            The government argues that any testimony regarding Mr.

 Finn should be precluded because it “would deeply confuse the

 issues in the trial.”       (Reply at 4.)     In opposition, because Mr.

 Finn was an FBI agent who, according to defendants, worked

 closely with the original investigating agent on this case, and

 Ms. Finn is the sole officer of GDC who has not been charged in

 connection with the alleged conspiracy, Dupree seeks to inquire

 whether Ms. Finn’s marriage to a former law enforcement officer

 “may have an impact on her willingness to testify truthfully or

 may slant her testimony in an effort to protect herself from any

 form of liability in this matter.”          (Dupree Opp’n at 9.)       In

 addition, Dupree seeks to inquire about communications between

 Mr. and Mrs. Finn regarding GDC and whether Mr. Finn’s presence

 at the search of GDC’s offices affected any witness’s testimony.

 (Id. at 9-10.)    Finally, Foley objects to the government’s

 motion because Mr. Finn “may well have provided some influence

 resulting in the non-prosecution of his wife.”               (Foley Opp’n at

 2.)

            “It is a clearly established principle of Supreme Court

 jurisprudence that the Confrontation Clause requires that a

 criminal defendant be afforded a meaningful opportunity to

 cross-examine witnesses against him in order to show bias or

 improper motive for their testimony.”          Brinson v. Walker, 547

 F.3d 387, 392 (2d Cir. 2008) (citation omitted)); see also

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 United States v. Figueroa, 548 F.3d 222, 227 (2d Cir. 2008)

 (“One way of discrediting a witness is ‘cross-examination

 directed toward revealing possible biases, prejudices, or

 ulterior motives of the witness as they may relate directly to

 issues or personalities in the case at hand.’” (quoting Davis v.

 Alaska, 415 U.S. 308, 316 (1974)).          Such cross-examination is

 not unlimited, however, and “[t]rial judges retain wide latitude

 insofar as the Confrontation Clause is concerned to impose

 reasonable limits on . . . cross-examination based on concerns

 about, among other things, harassment, prejudice, confusion of

 the issues, the witness’ safety, or interrogation that is

 repetitive or only marginally relevant.”          Figueroa, 548 F.3d at

 229 (citation omitted).

            First, according to the Jencks Materials, Ms. Finn, one

 of five corporate officers of GDC, was fully aware of the

 alleged accounting fraud in the middle or end of 2009 while she

 was working at the company.      (Dupree Opp’n, Ex. A. at 3.)

 Because she possessed direct knowledge of the alleged fraud, she

 is an important witness to the case.          The fact that she is

 married to a former FBI agent who is alleged to have worked

 closely with the original investigating agent on the case and

 that Mr. Finn was present at the search of GDC’s offices

 provides a basis to inquire whether she has any bias or motive

 that may affect her testimony, including whether Mr. Finn’s

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 status influenced her reasons for meeting with the government

 for a proffer session.      See Davis, 415 U.S. at 317 (concluding

 that the “jurors were entitled to have the benefit of the

 defense theory before them so that they could make an informed

 judgment as to the weight to place on [the witness’s] testimony

 which provided ‘a crucial link in the proof . . . of

 petitioner’s act.’” (citation omitted)).          Her credibility is

 also particularly important because, as defendants claim, her

 witness statements contradict with those of other government

 witnesses.    (Dupree Opp’n at 9.)

            In United States v. Drapeau, 414 F.3d 869 (8th Cir.

 2005), a case cited by the government in support of its position

 (Mot. at 3), the Eighth Circuit affirmed a district court’s

 exclusion of evidence of a confidential informant’s relationship

 to law enforcement personnel, specifically that the informant’s

 brother-in-law was one of the FBI agents working on the Task

 Force that arrested the defendant.          Id. at 875-76.      The district

 court based its exclusion of such evidence on the fact that the

 FBI lacked authority to decide whether the informant would be

 prosecuted and that “evidence of an FBI connection would thus be

 minimally probative of [the informant’s] bias.”              Id. at 876.

 Additionally, the Eight Circuit found its conclusion to be

 “strengthened” by the fact that the defendant was permitted to

 cross-examine the informant regarding other sources of potential

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 bias and impeachment, including that she hoped her cooperation

 would lead the prosecutor’s office to withhold certain charges.

 Id.

             In this case, there is a much closer relationship

 between Mr. and Mrs. Finn – that of husband and wife – than that

 between the informant and her brother-in-law in Drapeau, which

 renders Mr. Finn’s connections to the case more probative of Ms.

 Finn’s bias.    The government, however, notes that Mr. Finn, a

 former FBI agent, had no authority with respect to whether Ms.

 Finn should be prosecuted and played no role in any charging

 decision.    (Reply at 3-4); see United States v. Sanchez, 517

 F.3d 651, 670 (2d Cir. 2008) (“The Attorney General and United

 States Attorneys retain ‘broad discretion’ to enforce the

 Nation’s criminal laws.” (quoting United States v. Armstrong,

 517 U.S. 456, 464 (1996))).      Accordingly, the defendants may

 cross-examine Ms. Finn, subject to the spousal communications

 privilege discussed below, regarding Mr. Finn’s position and his

 relationship to the case, if any, to reveal any possible biases

 or motives that may affect Ms. Finn’s testimony. The court,

 however, limits such cross-examination by precluding any

 questioning suggesting that, because of Mr. Finn, the United

 States Attorney’s Office treated Ms. Finn favorably in deciding

 not to charge her at this time.



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            In addition, defendants are precluded from making

 references to prosecutorial misconduct or corruption involving

 Mr. Finn, which are claims already denied in Dupree, 781 F.

 Supp. 2d at 162.    The court finds that defendants’

 unsubstantiated assertions of government misconduct or

 corruption lack probative value and are outweighed by the

 potential for prejudice and confusion of the issues by the jury.

 Indeed, the government asserts that Ms. Finn will be testifying

 pursuant to a subpoena − not a non-prosecution agreement or any

 form of immunity from the government – and that she may still be

 charged for her involvement in the alleged conspiracy.              (Reply

 at 4.)   This limitation is also reasonable because the

 defendants may still cross-examine Ms. Finn regarding whether

 she hoped to curry favor with the government by meeting for a

 proffer session and by testifying against the defendants, which

 does not require referring to Mr. Finn and his former position

 at the FBI.    See Drapeau, 414 F.3d at 876.

            Second, with respect to Dupree’s request to inquire

 into communications between Mr. and Mrs. Finn regarding

 activities at GDC, it is likely that such communications are

 protected by the spousal communications privilege, which shields

 spousal “communications made in confidence during a valid

 marriage.”    In re Witness before Grand Jury, 791 F.2d 234, 237

 (2d Cir. 1986).    “Although communications between spouses are

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 presumed to be confidential, this presumption is rebutted when

 the communicant knew that the information was or would be

 disclosed to third parties or to the public.”            Id. at 239

 (citations and quotation marks omitted).          Because the

 communications between Mr. and Mrs. Finn regarding activities at

 GDC are presumed confidential, and there has been no showing

 that this presumption has been rebutted or that Mr. and Mrs.

 Finn were not in a valid marriage at the time of the

 communications at issue, the court finds that such

 communications are privileged and thus protected from

 disclosure.

            Third, the court addresses Dupree’s application to

 question other government witnesses regarding whether Mr. Finn’s

 presence at the search of GDC’s offices affected their

 testimony.    To the extent that defendants can establish at trial

 that a government witness had knowledge that Mr. Finn was

 present at the search of GDC’s offices, the defendants may

 inquire whether Mr. Finn’s presence affected that witness’s

 testimony.    If a witness responds that he or she was not aware

 of Mr. Finn’s presence during the search, then no further

 questions regarding Mr. Finn will be permitted.              The court

 believes that this approach to witnesses other than Ms. Finn

 will provide the defendants with the opportunity to conduct

 cross-examination on an issue that is probative – whether Mr.

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 Finn’s presence affected any witness’s testimony when such

 witness knew he was present – while limiting delay and waste of

 time from nonprobative questions.

            Based on the foregoing analysis, the court grants in

 part and denies in part the government’s motion to preclude

 testimony regarding Ms. Finn’s husband, Martin Finn.              The court

 grants the motion in part by (1) precluding defendants from

 suggesting or arguing that, because of Mr. Finn, the United

 States Attorney’s Office treated Ms. Finn favorably in deciding

 not to charge her in this case at this time; (2) precluding

 references to prosecutorial misconduct or corruption involving

 Mr. Finn, as further discussed below, and (3) precluding any

 inquiry into communications between Mr. and Mrs. Finn regarding

 GDC on the basis that such communications are presumptively

 confidential and therefore protected from disclosure pursuant to

 the spousal communications privilege.         The court denies the

 motion in part by (1) permitting defendants to cross-examine Ms.

 Finn regarding whether she has any bias or motive that may

 affect her testimony resulting from Mr. Finn’s position as a

 former FBI agent, his relationship with the original

 investigating agent on the case, and his presence at the FBI’s

 search of GDC’s offices, and (2) by allowing defendants to

 inquire whether other witnesses were aware that Mr. Finn was



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 present at the search of GDC’s offices, and if so, whether his

 presence affected such witnesses’ testimony.

                  D.     Preclusion of Direct Testimony or Cross-
                         Examination Regarding Any of the Defendants’
                         Allegations of Prosecutorial Misconduct

            The government moves to preclude any testimony

 regarding defendants’ allegations of prosecutorial misconduct on

 the basis that this court has previously found such allegations

 to be meritless.      (Reply at 4.)    Moreover, the government

 contends that defendants’ allegations of prosecutorial

 misconduct are “wholly irrelevant to the case” and “would do

 nothing but confuse and mislead the jury.”           (Id.)

            In opposition, Dupree argues that (1) the court should

 not prematurely limit cross-examination regarding allegations of

 prosecutorial misconduct, (2) the appropriateness of the

 government’s investigative techniques are proper subjects for

 cross-examination enabling defendants to “challenge both the

 witnesses the government presents and the methods it used to

 obtain its information,” and (3) defendants’ allegations of

 prosecutorial misconduct are not “baseless” even though they do

 not rise to the level of a constitutional violation as found by

 this court.    (Dupree Opp’n at 11.)        Dupree further asserts that

 he is only required to have a “good faith basis to ask questions

 concerning the government’s conduct during its investigation of

 this case,” and that such a basis has been established in

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 numerous filings before the court.          (Id. at 12.)     Foley also

 submitted a summary objection.       (Foley Opp’n at 2.)

            The defendants’ allegations of prosecutorial

 misconduct consist of the following:          (1) the government’s

 seizure of privileged and confidential documents during the

 search of GDC’s offices; (2) the government’s return of

 unexecuted seizure warrants of the Amalgamated accounts while

 instructing the bank not to pay defendants’ salaries; (3) the

 government’s seizure of, and subsequent refusal to release funds

 in, certain JP Morgan Chase bank accounts; and (4) the

 government’s misuse of the grand jury in continuing to

 investigate this matter after an indictment had been returned.

 (Dupree Opp’n at 10.)

            With respect to each of these allegations and several

 others, the court has found − repeatedly – that these

 allegations are not sufficient to constitute prosecutorial

 misconduct as a matter of law.       Dupree, 781 F. Supp. 2d at 160-

 66.   First, with respect to the allegation that the government

 seized privileged and confidential documents, the court held

 “that, as a matter of law, the government followed appropriate

 procedures with respect to handling potentially privileged

 documents.”    Id. at 163.    Second, with respect to the allegation

 that the government instructed Amalgamated not to pay

 defendants’ salaries, the court found that the defendants never

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 presented evidence that supported this allegation.             Id.   Third,

 with respect to the allegation that the government seized and

 then refused to release funds in JP Morgan Chase bank accounts,

 the court concluded that the government’s application for and

 execution of the search and seizure warrants were supported by

 probable cause, properly issued, and properly executed.              Id. at

 161.   Finally, with respect to the allegation that the

 government misused the grand jury, this court found that the

 government’s “continued use of the grand jury is appropriate.”

 Id. at 165.

            It is established Second Circuit law that allegations

 of prosecutorial misconduct are properly directed to the judge,

 not the jury.    See United States v. Young, 283 F. App’x. 858,

 860 (2d Cir. 2008) (concluding that defendant’s argument

 regarding alleged misconduct by the government was more

 appropriately directed to the court rather than to a jury);

 United States v. Regan, 103 F.3d 1072, 1082 (2d Cir. 1997)

 (“[W]e agree with the district court’s decision to resolve for

 itself whether the government’s conduct was lawful and to

 prevent Regan from presenting evidence [that the grand jury

 investigation was illegitimate].”); see also United States v.

 Cuervelo, 949 F.2d 559, 567 (2d Cir. 1991) (“A motion to dismiss

 an indictment alleging outrageous governmental conduct is a

 question of law directed to the trial judge . . . .”).

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            Dupree appropriately contends that defendants’

 “ability to challenge both the witnesses the government presents

 and the methods it used to obtain its information” is an

 important right.    (Dupree Opp’n at 11.)        The defendants,

 however, have had more than ample opportunity to make these

 pretrial challenges before the court and have failed on numerous

 occasions.    Because the court has already found the government’s

 conduct to be “appropriate” and “proper,” defendants’ continued

 accusations of prosecutorial misconduct are without merit and

 irrelevant to the issues to be tried.

            Even if this court had not previously ruled on

 defendants’ allegations of prosecutorial misconduct, the

 government’s alleged misconduct would still be irrelevant under

 Federal Rules of Evidence 401 and 402 because the allegations

 have no bearing on the reliability of the evidence offered

 against the defendants.      For example, as the government

 correctly notes, whether or not the government seized privileged

 emails during its search of GDC’s offices, instructed

 Amalgamated not to pay defendants’ salaries, or refused to

 release certain funds, has no probative value with respect to

 the reliability of the evidence that will be offered at trial.

 (Reply at 7); see United States v. Malpeso, 115 F.3d 155, 163

 (2d Cir. 1997) (finding that evidence of confidential

 information leaked by an FBI agent is “of little or no relevance

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 to the crimes charged in this case”).         These are all pretrial

 issues that were, and should only be, dealt with prior to trial.

            Finally, even if such allegations of government

 misconduct are relevant, permitting the defendants to once again

 raise each of these allegations before the jury after this court

 has found them to be unfounded would result in all of the

 concerns implicated by Rule 403, including unfair prejudice,

 confusion of the issues, and misleading the jury, as well as

 undue delay and waste of time.       See id. (“[E]ven if the evidence

 [of an FBI leak] were of some marginal relevance, that relevance

 is far outweighed by the risk of prejudice.           The likely (and

 presumably intended) effect of admitting [the] evidence . . .

 would have been to shift the focus away from the relevant

 evidence of the defendants’ wrongdoing to the tangentially

 related misdeeds of one government agent.          Such a diversion not

 only risked needlessly delaying the trial, but also created the

 very real possibility that the jury would improperly discredit

 the government’s case in reaction to [the FBI agent’s] allegedly

 gross misconduct.”).




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             The defendants do not cite any cases that are contrary

 to this conclusion. 8       (Dupree Opp’n at 12-13.)           In United States

 v. Katsougrakis, 715 F.2d 769 (2d Cir. 1983), the Second Circuit

 held that defense counsel “may explore certain areas of inquiry

 in a criminal trial without full knowledge of the answer to

 anticipated questions,” but that counsel must “provide some good

 faith basis for questioning that alleges adverse facts” when

 confronted with a demand for an offer of proof.                 Id. at 779.

 Katsougrakis, however, dealt with a defense counsel’s inability

 to show a good faith basis for a line of questioning attacking

 the credibility of a coconspirator by suggesting he had a

 reputation as a “hit man.”        Id.    The case had nothing to do with

 prosecutorial misconduct and did not address the situation here

 where the court has already considered the defendants’ good

 faith basis for adverse facts and found such claims to be

 unsuccessful and not probative of the reliability of any

 evidence.

             Dupree’s citation to language in a footnote from the

 Supreme Court’s decision in Kyles v. Whitley, 514 U.S. 419

 (1995) is similarly unavailing.          In that footnote, the Supreme

 Court stated that “[w]hen, for example, the probative force of

             8
                The parties discuss United States v. Carona, 630 F.3d 917 (9th
 Cir. 2011) at length in their papers. (See Mot. at 4; Reply at 5-7; Dupree
 Opp’n at 13.) The portions of Carona that the parties largely rely upon,
 however, were omitted in an amended opinion issued in that case after the
 parties completed their briefing. See United States v. Carona, No. 09-50235,
 2011 U.S. App. LEXIS 21720 (9th Cir. Oct. 25, 2011).

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 evidence depends on the circumstances in which it was obtained

 and those circumstances raise a possibility of fraud,

 indications of conscientious police work will enhance probative

 force and slovenly work will diminish it.”           Id. at 446 n.15.

 The court does not disagree that where the circumstances by

 which evidence was obtained raise a possibility of fraud,

 evidence of such circumstances is probative as to the

 reliability of the evidence.      The defendants, however, have not

 made a showing that any of the alleged misconduct by the

 government would tend to make particular evidence offered at

 trial against the defendants to be less reliable, and therefore,

 less convincing.    Compare United States v. Sager, 227 F.3d 1138,

 1145 (9th Cir. 2000) (holding that district court committed

 error by instructing the jury that it may not consider whether

 or not a Postal Inspector’s investigation was flawed where

 “[d]etails of the investigatory process [i.e. ‘a highly damaging

 flaw’ in the Inspector’s accounts of a witness’s statement]

 potentially affected [the Inspector’s] credibility and, perhaps

 more importantly, the weight to be given to evidence produced by

 his investigation.” (emphasis added)).

            In this case, the government must prove beyond a

 reasonable doubt that the defendants are guilty of the crimes

 charged in the S-2 Indictment.       The court cannot and will not

 permit this case to become a referendum before the jury on the

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 appropriateness or legality of government conduct that has

 already been found to be appropriate and lawful and which has no

 bearing on the reliability of the evidence offered against

 defendants.        See Malpeso, 115 F.3d at 163.       Therefore, the court

 grants the government’s motion to preclude defendants from

 presenting evidence or eliciting testimony during direct or

 cross-examination regarding their allegations of prosecutorial

 misconduct.        Additionally, defendants may not suggest to the

 jury that there has been any prosecutorial misconduct in this

 case.

               This decision does not limit the defendants from

 introducing evidence regarding the methods used by the

 government to obtain its information in order to allow the jury

 to evaluate how those methods affected the reliability of the

 evidence. 9       The defendants are precluded, however, from

 suggesting to the jury that government actions and methods found

 to be appropriate by this court are somehow improper or the

 result of prosecutorial misconduct.

                      E.   Admissibility of Recordings Offered By the
                           Government

               The government intends to introduce certain recorded

 statements into evidence at trial as statements of a


               9
                Indeed, the government has stated that it “is not, at this
 time, moving to preclude the defendants from cross-examining [Emilio] Serrano
 regarding ‘the manner in which [the defendants’] recorded statements were
 obtained.’” (Reply at 5 (quoting Dupree Opp’n at 13).)

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 coconspirator pursuant to Federal Rule of Evidence 801(d)(2)(E).

 The government moves the court to defer a ruling on the

 admissibility of such recorded statements until the conclusion

 of the government’s case-in-chief so that the court “may confine

 its determination to those recordings that are actually offered

 and objected to at trial.”        (Mot. at 5.)

            The defendants object to the admissibility of two

 categories of recorded statements.           First, Dupree and Foley

 object to the admissibility of recorded conversations between

 Emilio Serrano and Frank Patello.         Second, Foley objects to the

 admissibility of recorded conversations during which he was not

 present, between Emilio Serrano and co-defendants Dupree and

 Watts.   These two categories of recorded statements will be

 discussed in turn.

                        1.      Standards Governing Admissibility of
                                Coconspirator Statements Under Rule
                                801(d)(2)(E)

            “Rule 801(d)(2)(E) states that out-of-court

 declarations are not excludable as hearsay if they are made ‘by

 a co-conspirator of a party during the course and in furtherance

 of the conspiracy.’”        United States v. Farhane, 634 F.3d 127,

 161 (2d Cir. 2011) (quoting Fed. R. Evid. 801(d)(2)(E)).               “To

 admit an out-of-court declaration under this rule, the district

 court must find by a preponderance of the evidence ‘(a) that

 there was a conspiracy, (b) that its members included the

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 declarant and the party against whom the statement is offered,

 and (c) that the statement was made during the course of and in

 furtherance of the conspiracy.’”         Id. (quoting United States v.

 Al-Moayad, 545 F.3d 139, 173 (2d Cir. 2008)).

            As discussed further below, the court will defer

 ruling on the first two elements until the conclusion of the

 government’s case-in-chief in accordance with the long-

 established procedures followed in the Second Circuit after

 United States v. Geaney, 417 F.2d 1116 (2d Cir. 1969).              With

 respect to the third element, the Second Circuit has recognized:

       As the ‘in furtherance’ term implies, the statements
       must in some way have been designed to promote or
       facilitate achievement of the goals of the ongoing
       conspiracy, as by, for example, providing reassurance
       to    a   coconspirator,    seeking    to    induce  a
       coconspirator’s assistance, serving to foster trust
       and cohesiveness, or informing coconspirators as to
       the progress or status of the conspiracy, or by
       prompting   the  listener   −   who  need   not   be a
       coconspirator − to respond in a way that promotes or
       facilitates the carrying out of a criminal activity.


 United States v. Tracy, 12 F.3d 1186, 1196 (2d Cir. 1993)

 (internal citations omitted); see also In re Terrorist Bombings

 of U.S. Embassies in E. Afr. v. Odeh, 552 F.3d 93, 139 (2d Cir.

 2008); United States v. Beech-Nut Nutrition Corp., 871 F.2d

 1181, 1199 (2d Cir. 1989) (“The principal question in the ‘in

 furtherance’ issue is whether the statement promoted, or was

 intended to promote, the goals of the conspiracy.             ‘Idle


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 chatter’ does not meet the test, nor does a ‘merely narrative’

 description by one coconspirator of the acts of another.

 Coconspirator statements may be found to be ‘in furtherance’ . .

 . if they ‘prompt the listener to respond in a way that

 facilitates the carrying out of criminal activity.’”              (citations

 and internal quotation marks omitted)).

                        2.     Admissibility of the Statements Between
                               Emilio Serrano and Frank Patello

             The defendants object to the admissibility of four

 recorded conversations between Emilio Serrano (“Serrano”) and

 Frank Patello (“Patello”) that took place between May 17, 2010,

 and June 4, 2010.     At the time of the conversations, Emilio

 Serrano was a government informant who was working at GDC as an

 assistant controller, and Frank Patello, a former controller and

 chief financial officer at GDC, had left the company and was not

 aware that Serrano was an informant or that he was being

 recorded.    (Reply at 10.)    Patello was subsequently arrested in

 connection with the conspiracy in July 2010.           At this time,

 subject to the limitations discussed below, the court finds that

 these recorded statements are admissible pursuant to Rule

 801(d)(2)(E).

             First, Dupree and Foley argue that Serrano cannot be a

 coconspirator because he was cooperating with the government.

 (See Dupree Opp’n at 15; Foley Opp’n at 3.)           This fact, however,


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 does not affect the admissibility of the conversations if

 Patello’s statements satisfy the requirements of Rule

 801(d)(2)(E).     Farhane, 634 F.3d at 160-62 (2d Cir. 2011)

 (affirming district court’s admission of tape recorded

 conversations between a co-defendant, on the one hand, and a

 confidential informant or undercover agent, on the other hand,

 under Rule 801(d)(2)(E)); In re Terrorist Bombings, 552 F.3d 93

 at 139 (“Though [Rule 801(d)(2)(E)] requires that both the

 declarant and the party against whom the statement is offered be

 members of the conspiracy, there is no requirement that the

 person to whom the statement is made also be a member.”

 (quoting Beech-Nut Nutrition Corp., 871 F.2d at 1199)); United

 States v. Sanin, Nos. 96-1417(L), 96-1481, 96-1482, 1997 U.S.

 App. LEXIS 12280, at *10-11 (2d Cir. May 23, 1997)

 (“[S]tatements made to a non-co-conspirator can still be

 admitted under Rule 801(d)(2)(E) if the purpose of making the

 statements is to facilitate achievement of the conspiracy’s

 goal.”) 10


             10
                The Second Circuit has even indicated that Serrano’s
 statements may be admissible as a coconspirator. See United States v.
 Monteleone, 257 F.3d 210, 221-22 (2d Cir. 2001) ([S]tatements of a government
 informant may still be admissible as co-conspirator non-hearsay. . . .
 Membership in a criminal conspiracy and rendering services to the government
 as an informant are not necessarily mutually exclusive roles. The status as
 a co-conspirator of one who is passing information to the government turns on
 whether his efforts as an agent of the government supplant his efforts as an
 agent of his co-conspirators. We draw a distinction between a co-conspirator
 who exchanges information with the government while still pursuing the
 conspiracy’s criminal objectives, and one whose conduct as a ‘co-conspirator’
 is shaped and directed by the desires of the government.”). The court cannot

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             Second, while not disputing that Patello was a member

 of a conspiracy, Dupree and Foley argue that Patello was no

 longer a member of the conspiracy at the time of the recordings.

 (Dupree Opp’n at 15; Foley Opp’n at 3.)          In order to withdraw

 from a conspiracy, the defendant must “show that he performed

 some act that affirmatively established that he disavowed his

 criminal association with the conspiracy, either the making of a

 clean breast to the authorities, or communication of the

 abandonment in a manner reasonably calculated to reach co-

 conspirators.     Unless a conspirator produces affirmative

 evidence of withdrawal, his participation in a conspiracy is

 presumed to continue until the last overt act by any of the

 conspirators.”     United States v. Sadiki Komunyaka, No. 10-2994-

 cr, 2011 U.S. App. LEXIS 20029, at *7 (2d Cir. Oct. 3, 2011)

 (quotation marks and citations omitted)).

             Although Patello had left GDC, the corporate entity at

 the center of the alleged conspiracy, at the time of the

 recordings, there is no showing that he performed an affirmative

 act to withdraw from the conspiracy.         Indeed, the recordings

 indicate quite the opposite.        In the recordings at issue, which

 this court has reviewed, Patello, inter alia, (1) inquires about

 determine, on this record, whether Serrano was a conconspirator at the time
 of the recorded conversations because the court has no facts before it
 regarding the circumstances of his cooperation with the government.
 Moreover, because the court finds that the recorded conversations between
 Serrano and Patello are admissible under Rule 801(d)(2)(E), even if Serrano
 was not a coconspirator, it is unnecessary for the court to decide the issue.

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 what is happening at GDC, including Amalgamated’s audit of GDC

 and the submission of another falsified Borrowing Base

 Certificate, (2) explains to Serrano how GDC created a company

 to conceal information from Amalgamated, (3) recounts a recent

 call he made to Dupree regarding a call Patello received from an

 Amalgamated representative and Dupree’s advice on how to

 respond, (4) discusses how he actively calls an Amalgamated

 representative after business hours, presumably to maintain the

 appearance that nothing is wrong and to hide the fact that he

 had left GDC, (5) comments on how he is still waiting for his

 severance payment, (6) makes several statements indicating that

 he hopes GDC will survive financially and that the conspiracy

 will remain concealed so that he does not get caught, and (7)

 reassures Serrano that, in the event the conspiracy is exposed,

 he will protect Serrano.      (Reply at 10.)      These acts, which

 involve contact with alleged coconspirators Dupree and Serrano

 and contact with Amalgamated, are certainly not sufficient to

 establish Patello’s withdrawal from the conspiracy.             See United

 States v. Friesel, 224 F.3d 107, 118 (2d Cir. 2000)

 (“[R]esignation from a criminal enterprise, standing alone, does

 not constitute withdrawal as a matter of law; more is required.

 Specifically, the defendant must not take any subsequent acts to

 promote the conspiracy . . . .”       (citations omitted)).



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            Third, Dupree and Foley assert that Patello’s

 statements were not in furtherance of the conspiracy because (1)

 Patello’s expression of a fear of getting caught is not in

 furtherance of the conspiracy (Foley Sur-Reply at 2), (2)

 Patello at times counseled Serrano not to participate in the

 conspiracy (id.), and (3) the statements are primarily

 narratives of past events and did not incite Serrano to respond

 in a way to promote or carry out further criminal activity

 (Dupree Opp’n at 16).       In response, the government argues that

 the conversations between Serrano and Patello are “statements

 that provide reassurance, or seek to induce a coconspirator’s

 assistance, or serve to foster a trust and cohesiveness, or to

 inform each other as to the progress or status of the

 conspiracy.”    (Reply at 10-11 (quoting United States v.

 Maldonado-Rivera, 922 F.2d 934, 959 (2d Cir. 1990))).              The court

 finds the government’s argument to be persuasive.

            Although several of the recorded statements involve

 narratives relating to past events, such statements “meet the

 in-furtherance test if they serve some current purpose in the

 conspiracy . . . .”     United States v. Thai, 29 F.3d 785, 813 (2d

 Cir. 1994).    Patello’s acts described above, e.g., inquiring

 about the outcome of the bank review and audit, the submission

 of Borrowing Base Certificates, and Serrano’s work at GDC,

 describing calls to and from Amalgamated and Dupree, and

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 explaining how GDC concealed information from Amalgamated,

 served to inform Serrano about the progress or status of the

 conspiracy and to solicit information regarding the same from

 Serrano.   In addition, although Patello counseled Serrano to

 avoid involvement in the ongoing conspiracy, he also reassured

 Serrano on many occasions that they and the others were less

 likely to get caught as more time had passed since their direct

 involvement in the conspiracy and the aging of the financial

 information submitted to Amalgamated.         By doing this, Patello

 was likely ensuring that Serrano would keep quiet and not expose

 the ongoing conspiracy by cooperating with law enforcement.                 See

 United States v. Eisen, 974 F.2d 246, 269 n.8 (2d Cir. 1992)

 (“Because the District Court found that [defendant] did not

 effectively withdraw from the conspiracy when he resigned from

 the . . . firm, [defendant] was still a member of the conspiracy

 at the time of these efforts, and, clearly, acts or statements

 designed to conceal an ongoing conspiracy are in furtherance of

 that conspiracy.”); Beech-Nut Nutrition Corp., 871 F.2d at 1198-

 99 (coconspirator statements admissible because they were

 designed to “cover up” the conspiracy and encourage the listener

 “to not to reveal incriminating information”).               Finally, the

 fact that Patello expressed his fear of getting caught and of

 being blamed by others in the conspiracy in the event it was

 exposed − which confirms his participation in the conspiracy –

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 does not necessarily require a finding that his statements were

 not in furtherance of the conspiracy.          Indeed, such statements

 expressed the hope that none of the conspiratorial actors would

 be detected and likely fostered a relationship of trust between

 himself and Serrano to maintain the concealment of the

 conspiracy and to protect themselves in the event the conspiracy

 was revealed, all of which furthered the conspiracy.

            For the forgoing reasons, the court finds that there

 is no legal basis at this time to preclude the four recorded

 conversations between Serrano and Patello from being offered

 into evidence at trial.       As discussed below, subject to a

 finding at trial by a preponderance of the evidence that there

 is a conspiracy, that Patello and defendants are members of that

 conspiracy, and that the specific statements to be introduced

 are during and in furtherance of the conspiracy, the recorded

 conversations between Serrano and Patello will be admissible at

 trial against the defendants. 11

                         3.    Admissibility of the Statements Between
                               Emilio Serrano and Dupree and Watts
                               against Foley

            Foley objects to the admission of 39 recorded

 conversations between Serrano and co-defendants Dupree and Watts


            11
                Foley quotes certain of Patello’s statements in his opposition
 brief to demonstrate that there exists substantial prejudice should the
 recordings be admitted. (Foley Opp’n at 3-4.) It does not appear, at this
 time, that the government intends to offer into evidence those particular
 statements.

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 on three grounds:     (1) the recordings are hearsay because Foley

 was not present during any of the conversations and was not

 mentioned in the recordings; (2) admission of the recordings

 would violate Foley’s Sixth Amendment Right of Confrontation as

 construed by the Supreme Court in Crawford v. Washington, 541

 U.S. 36 (2004), and (3) there is not sufficient independent

 corroborating evidence of Foley’s participation in the

 conspiracy for the statements to be admissible against him.

 (Foley Opp’n at 2-3.)       Each of these objections will be

 addressed in turn.

            Foley’s first argument is incorrect as a matter of

 law.   The recorded conversations are “not hearsay” if they are

 admissible as statements of a coconspirator under Federal Rule

 of Evidence 801(d)(2)(E).       Fed. R. Evid. 801(d)(2)(E); Thai, 29

 F.3d at 813 (“Under Fed. R. Evid. 801(d)(2)(E), a statement made

 by a coconspirator in furtherance of the conspiracy is non-

 hearsay.”).    Moreover, statements of a coconspirator are

 admissible against other coconspirators regardless of whether

 they are present at the conversation or whether their name is

 mentioned as there are no such requirements in Rule

 801(d)(2)(E).    See Farhane, 634 F.3d at 161 (rejecting a

 defendant’s arguments that a coconspirator’s statements are not

 admissible against him because “he did not participate in the



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 conversations at issue and was not mentioned in the course

 thereof”).

            Foley’s second argument regarding his Right of

 Confrontation under Crawford is also plainly incorrect.

 “Crawford conditions its bar on the admission of prior out-of-

 court statements that were not subject to cross-examination on

 whether the statements are ‘testimonial,’” and the Supreme Court

 has suggested that a “testimonial” statement “must be such that

 the declarant reasonably expects that the statement might be

 used in future judicial proceedings.”         United States v. Saget,

 377 F.3d 223, 229 (2d Cir. 2004).        In Saget, the Second Circuit

 explicitly held that statements by a coconspirator to a

 confidential informant are not “testimonial” where the

 coconspirator is unaware of the status of the informant.              Id. at

 229 (“[A] declarant’s statements to a confidential informant,

 whose true status is unknown to the declarant, do not constitute

 testimony within the meaning of Crawford.”); Farhane, 634 F.3d

 at 162 (same).    Here, it is undisputed that, in their

 conversations with Serrano, Dupree and Watts were unaware that

 Serrano was speaking to agents for the government or that their

 statements might later be used at a trial.           Therefore, their

 statements are not testimonial in nature and Foley’s Right of

 Confrontation is not violated by admitting the recorded

 conversations.

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             Finally, the court defers ruling on whether there is

 sufficient independent corroborating evidence of Foley’s

 participation in the conspiracy for the statements to be

 admissible against him until the conclusion of the government’s

 case.   The Second Circuit established this practice in United

 States v. Geaney, 417 F.2d 1116 (2d Cir. 1969), cert. denied,

 sub nom. Lynch v. United States, 397 U.S. 1028 (1970):              “While

 the practicalities of a conspiracy trial may require that

 hearsay be admitted ‘subject to connection,’ the judge must

 determine, when all the evidence is in, whether in his view the

 prosecution has proved participation in the conspiracy, by the

 defendant against whom the hearsay is offered, by a fair

 preponderance of the evidence independent of the hearsay

 utterances.”    Id. at 1120.    The Geaney procedure has been widely

 followed by courts in the Second Circuit, and is not disputed by

 the defendants.    See, e.g., United States v. Ferguson, 653 F.3d

 61, 75 n.8 (2d Cir. 2011) (noting that the district court

 “conditionally admitted co-conspirator statements during the

 government’s presentation of its case; after the government

 rested, the court made the necessary Geaney findings and

 admitted the statements”); United States v. Daugerdas, No. S3 09

 Cr. 581 (WHP), 2011 U.S. Dist. LEXIS 15753, at *3 (S.D.N.Y. Feb.

 16, 2011) (permitting “the Government to offer coconspirator

 statements subject to connection based on evidence adduced

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 later”); United States v. Saneaux, 392 F. Supp. 2d 506, 508

 (S.D.N.Y. 2005) (same); United States v. Brodwin, 292 F. Supp.

 2d 484, 488 (S.D.N.Y. 2003) (same).

            Therefore, consistent with Geany, the court will

 conditionally admit the recorded conversations during the

 government’s case-in-chief.      At the conclusion of the

 government’s case, the court will determine whether the

 government has established by a preponderance of the evidence

 that (1) there was a conspiracy, (2) that its members included

 the defendants, and (3) that the statements conditionally

 admitted were made during the course of and in furtherance of

 the conspiracy.    See Farhane, 634 F.3d at 161.             In making these

 findings, the court may consider the statements themselves, but

 there must also be some independent corroborating evidence. See

 United States v. Mulder, 273 F.3d 91, 103 (2d Cir. 2001)

 (citation omitted).     If the requisite findings cannot be made

 for a particular statement, e.g., it is found that a statement

 was not made during the course of and in furtherance of the

 conspiracy, the court will instruct the jury to disregard the

 statement.

            To minimize the risk of unfair prejudice to the

 defendants from the conditional admission of the recorded

 statements and to expedite trial while the jury is in session,

 after the conclusion of each trial day, the government shall

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 provide the court and the defendants with a transcript of the

 recorded statements that it intends to offer into evidence

 during the next trial day.      This procedure will enable the court

 to determine in advance whether a particular statement is not

 admissible prior to its disclosure to the jury to the extent it

 is possible to make such a finding prior to its presentation.

                  F.    Admissibility of New York State Supreme
                        Court Order Against Dupree

            On August 4, 2010, in Amalgamated Bank v. JDC

 Lighting, LLC et al., No. 651184/2010, a related proceeding

 initiated by Amalgamated in New York State Supreme Court,

 Justice Shirley Werner Kornreich granted Amalgamated’s request

 by Order to Show Cause for, inter alia, an order temporarily

 restraining defendants, GDC and its affiliates, “and all persons

 or entities controlled by any of them” from “moving, removing,

 transferring, encumbering or otherwise taking any further action

 to the detriment of plaintiffs with respect to any assets . . .

 and . . . books [and] records . . . other than in the ordinary

 course of business . . . .”      (ECF No. 188-10, Order to Show

 Cause Appointing Temporary Receiver (the “August 4 Order”)

 ¶ 21.)   In addition, Justice Kornreich ordered that “all

 collections” and the funds in certain Chase accounts be

 deposited into accounts at Amalgamated.          (Id. ¶ 24.)




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            The government moves to admit the August 4 Order

 pursuant to Federal Rule of Evidence 803(8)(C) to show that

 Dupree knew he was obligated to deposit the collections of GDC’s

 subsidiaries at Amalgamated and that he intended to violate that

 obligation.    (Mot. at 6-7.)    The government contends that any

 potential prejudice to Foley could be removed with a limiting

 instruction.    (Id. at 6.)    In opposition, Dupree contends that

 the August 4 Order is inadmissible hearsay pursuant to Rule

 801(c), that the state court order does not fall within any of

 the hearsay exceptions, and that the purpose for which the

 government seeks to introduce the order – establishing Dupree’s

 knowledge and intent to violate his obligations to Amalgamated −

 would require the jury to interpret the August 4 Order, which is

 impermissible.    (Dupree Opp’n at 16-17.)        Foley does not respond

 to this particular motion.

            On July 28, 2011, the court dismissed Count Five of

 the S-1 Indictment, which charged Dupree with an additional

 count of Bank Fraud, as insufficient because it relied on the

 August 4 Order.    As the basis for its decision, the court found

 the following:

       The   obligation   to  deposit   all  revenue   with
       Amalgamated, the knowing violation of which may
       provide a basis for the bank fraud charged in Count
       Five, must be found in section 5.05 of the Agreement
       between [Amalgamated] and the [GDC] subsidiaries,
       which is not specifically referenced in the [S-1
       Indictment], rather than in the state court order,

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       which can only be interpreted by the court that issued
       it, and not by a federal grand jury or trial jury.
       Because the government concedes that the jury would be
       required to interpret the state court order as part of
       its determination of guilt under Count Five, Count
       Five is insufficient. In order to have sufficiently
       charged Count Five, the Superseding Indictment should
       have relied upon section 5.05 of the Agreement as a
       basis   for   alleging   that  Amalgamated   Bank  was
       defrauded, rather than alleging only that defendant
       Dupree defrauded Amalgamated via the state court’s
       order.   While the August 4 Order may properly have
       been referenced in the Superseding Indictment as
       further evidence that defendant Dupree was aware that
       the subsidiaries were obligated to deposit their
       collections with Amalgamated, the violation of that
       Order alone cannot be the basis of the charge.

 (ECF NO. 286, Memorandum and Order); United States v. Dupree,

 10-CR-627 (KAM), 2011 U.S. Dist. LEXIS 82817, at *13-15

 (E.D.N.Y. July 28, 2011) (citing United States v. Barnett, 376

 U.S. 681, 697-701 (1964)). 12

             Hearsay is an out-of-court statement offered in

 evidence to prove the truth of the matter asserted and is

 inadmissible except as provided for in the Federal Rules of

 Evidence.    See Fed. R. Evid. 801(c), 802.        The August 4 Order is

 hearsay if offered to prove the truth of the matter asserted,

 but the government seeks to offer it into evidence pursuant to


             12
                In light of this decision, and because the court dismissed
 Count Five of the S-1 Indictment without prejudice and with leave for the
 government to re-present the matter to the grand jury, Dupree was
 subsequently charged in the S-2 Indictment returned on August 3, 2011. The
 S-2 Indictment amended the S-1 Indictment by adding a paragraph stating that
 the loan agreement between Amalgamated and GDC’s subsidiaries required the
 subsidiaries “to maintain all of their operating bank accounts at Amalgamated
 Bank, and to deposit all of their revenue, upon receipt, into an operating
 account at Amalgamated Bank.” (S-2 Indictment ¶ 13.)


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 Federal Rule of Evidence 803(8)(C), which does not exclude as

 hearsay “[r]ecords, reports, [or] statements . . . in any form,

 of public offices or agencies, setting forth . . . factual

 findings resulting from an investigation made pursuant to

 authority granted by law, unless the sources of information or

 other circumstances indicate lack of trustworthiness.”              Fed. R.

 Evid. 803(8)(C). 13    “In order to fit within the purview of Rule

 803(8)(C), the evidence must (1) contain factual findings, and

 (2) be based upon an investigation made pursuant to legal

 authority.      Once a party has shown that a set of factual

 findings satisfies the minimum requirements of Rule 803(8)(C),

 the admissibility of such factual findings is presumed.”

 Bridgeway Corp. v. Citibank, 201 F.3d 134, 143 (2d Cir. 2000).

 In addition, in criminal cases, public records evidence is not

 admissible under Rule 803(8)(C) unless it is offered “against

 the [g]overnment.”      Fed. R. Evid. 803(8)(C); United States v.

 Yakobov, 712 F.2d 20, 25 (2d Cir. 1983) (“Rule 803(8) therefore

 did not authorize admission of the documents in a criminal

 proceeding unless they were offered against the government.”);

 see United States v. Davidson, 308 F. Supp. 2d 461, 475

 (S.D.N.Y. 2004) (holding that Rule 803(8)(C)permits the


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                Federal Rule of Evidence 803(8)(C), along with other Federal
 Rules of Evidence discussed in this opinion, will be amended on December 1,
 2011 absent contrary Congressional action. The amendments, if they go into
 effect, are intended to be “stylistic only” and thus will not affect the
 court’s rulings. See, e.g., Fed. R. Evid. 803 advisory committee’s note.

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 introduction of public records evidence “against the Government

 in a criminal case”).

            First, the government is seeking to introduce the

 August 4 Order against Dupree, and it is therefore inadmissible

 because it is not being offered against the government.              Second,

 by the government’s own concession that the August 4 Order “does

 not contain any findings of fact” (Mot. at 7; Reply at 13), it

 is not admissible under the plain language of Rule 803(8)(C),

 which relates to “factual findings” resulting from a legally

 authorized investigation.      See Fed. R. Evid. 803(8)(C).

 Furthermore, even if there were such findings, Rule 803(8)(C)

 does not apply to judicial findings, but is meant to apply to

 findings of public agencies and offices with a legal duty to

 make such findings after an investigation.           See United States v.

 Nelson, 365 F. Supp. 2d 381, 388 (S.D.N.Y. 2005) (“[T]he

 Government is correct that judicial findings generally do not

 fall under the hearsay exception established by Rule

 803(8)(C)”); see also Nipper v. Snipes, 7 F.3d 415, 418 (4th

 Cir. 1993) (“[J]udicial findings of fact are not public records

 within the meaning of Rule 803(8)(C) . . . .”).              Indeed, the

 Eleventh Circuit case cited by the government in support of its

 position, United States v. Jones, 29 F.3d 1549 (11th Cir. 1994)

 (cited at Motion at 7; Reply at 13), explicitly states:              “the

 plain language of Rule 803(8)(C) does not apply to judicial

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 findings of fact.     It applies to ‘factual findings resulting

 from an investigation made pursuant to authority granted by

 law.’ . . . [A] review of the advisory committee note to Rule

 803 reveals that the drafters intended this portion of the rule

 to apply to findings of agencies and offices of the executive

 branch.”    Id. at 1554 (citations omitted).

             The government argues that the August 4 Order “is not

 hearsay when it is admitted ‘for the limited purpose of

 recognizing the ‘judicial act’ that the order represents or the

 subject matter of the litigation.’”         (Reply at 13 (quoting

 Jones, 29 F.3d at 1553)); see also Liberty Mut. Ins. Co. v.

 Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir. 1992)

 (“A court may take judicial notice of a document filed in

 another court ‘not for the truth of the matters asserted in the

 other litigation, but rather to establish the fact of such

 litigation and related filings.’” (citation omitted)). 14             The

 cases cited by the government involve courts taking judicial

 notice of state court orders for limited purposes.             See Johnson

 v. Clark, No. 2:03-cv-490-FtM-33DNF, 2006 U.S. Dist. LEXIS 7070,

 at *8 (M.D. Fla. Feb. 7, 2006) (permitting party to introduce

 evidence that (1) judicial proceedings took place, (2)


             14
                The language the government quotes from the Eleventh Circuit
 case Jones interprets Federal Rule of Evidence 201 governing judicial notice,
 which the government is explicitly not seeking (Mot. at 7), and has nothing
 to do with Rule 803(8)(C). Nevertheless, the court will address this
 argument.

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 transactions were approved by probate courts in Virginia and

 Florida, and (3) dates of the orders and the date of the

 property sales as stated in the orders).

            Despite its assertions to the contrary, the government

 is not introducing the August 4 Order for the limited purpose of

 establishing the existence of the civil lawsuit between

 Amalgamated and defendants.      Instead, the government is seeking

 to introduce the Order for the truth of the matter asserted – to

 show that the August 4 Order did in fact create an obligation

 for Dupree and the other defendants to deposit “all collections”

 of GDC’s subsidiaries at Amalgamated.         It is only by

 establishing that fact that the government can then argue that

 “Dupree knew he was obligated to deposit the collections of

 GDC’s subsidiaries at Amalgamated Bank, and that he intended to

 violate that obligation.”      (Mot. at 7); see also Liberty Mut.

 Ins. Co., 969 F.2d at 1388 (finding error where the “district

 court relied upon the Bankruptcy Orders precisely to establish

 facts asserted therein, i.e., ‘that the Sellers listed in

 Schedule A attached to [the bankruptcy court’s] order provided

 the notices required to preserve their trust rights and were

 cash sellers.’”).     The government’s attempt to introduce the

 August 4 Order for an improper purpose warrants its exclusion.

            Finally, even if the court did find that the August 4

 Order could be admitted under Rule 803(8)(C), the court would

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 still exclude the August 4 Order on the basis of Rule 403.               As

 already found by this court, the August 4 Order “can only be

 interpreted by the court that issued it, and not by a federal

 grand jury or trial jury.”      Dupree, 2011 U.S. Dist. LEXIS 82817,

 at *13.   If the government were to introduce the August 4 Order

 to show that Dupree knew that he was obligated to deposit the

 collections of GDC’s subsidiaries at Amalgamated, the jury would

 be required to interpret the order and find that it created such

 an obligation, which this court has already been found to be

 impermissible and which would lead to confusion of the issues

 and misleading the jury.      Furthermore, several courts, including

 those cited by the government, have found that court orders by

 virtue of their having been issued by a judge cause undue

 prejudice.    See, e.g., Johnson, 2006 U.S. Dist. LEXIS 7070, at

 *7-8 (“[T]he risk that the jury will place undue weight on the

 judicial opinions [plaintiff] seeks to admit is substantial, and

 therefore, the Court determines that the judicial orders should

 be excluded from evidence.”); see also Nipper, 7 F.3d at 418

 (“[J]udicial findings of fact present a rare case where, by

 virtue of their having been made by a judge, they would likely

 be given undue weight by the jury, creating a serious danger of

 unfair prejudice.” (citation and internal quotation marks

 omitted)).    As a final point, the government concedes that “the

 jury can convict Dupree of Count Five without concluding that he

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 violated [the August 4 Order].       Importantly, nothing in 18

 U.S.C. § 1344 or the language of Count Five itself requires a

 formal finding that Dupree violated [the August 4 Order].”

 (Reply at 13-14.)     While the court recognizes that these

 statements do not render the order irrelevant, the fact that it

 is not necessary for the jury to find a violation of the August

 4 Order to convict Dupree of Count Five reduces its probative

 value and its centrality to the case, and risks prejudice and

 confusion.    Accordingly, because the court finds that the

 probative value of the August 4 order is substantially

 outweighed by the danger of unfair prejudice, confusion of the

 issues, and misleading the jury, the government’s motion to

 offer the August 4 Order against Dupree is denied.

                                 CONCLUSION

            For the reasons set forth above, the government’s

 motions in limine are granted in part and denied in part.               (1)

 The government’s motion to exclude any references to the

 possible consequences of defendants’ convictions is granted.

 (2) The government’s motion to preclude testimony concerning a

 government witness’s treatment for depression is granted in part

 and denied in part:     (a) the court precludes any testimony

 regarding the witness’s three psychiatrist visits from 1993 to

 1994; and (b) the court will permit cross-examination regarding

 (i) the nature and quantity of the anti-anxiety medication

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 prescribed, (ii) the dates of use, (iii) the purpose for which

 the witness was prescribed the medication, and (iv) whether the

 witness’s condition and medication affected the witness’s

 ability to perceive and recall events or to testify accurately

 about the facts at issue in the case.         (3) The government’s

 motion to preclude testimony regarding Veronica Finn’s husband,

 Martin Finn, is granted in part and denied in part:             (a) the

 court precludes defendants from suggesting that, because of Mr.

 Finn, the United States Attorney’s Office treated Ms. Finn

 favorably in deciding not to charge her in this case at this

 time; (b) the court precludes references to prosecutorial

 misconduct or corruption involving Mr. Finn; (c) the court

 precludes any inquiry into communications between Mr. and Mrs.

 Finn regarding GDC; (d) the court permits defendants to cross-

 examine Ms. Finn regarding whether she has any bias or motive

 that may affect her testimony resulting from Mr. Finn’s position

 as a former FBI agent, his relationship with the original

 investigating agent on the case, and his presence at the FBI’s

 search of GDC’s offices; and (e) the court permits defendants to

 inquire whether other witnesses were aware that Mr. Finn was

 present at the search of GDC’s offices, and if so, whether his

 presence affected such witnesses’ testimony.           (4)    The

 government’s motion to preclude defendants from eliciting

 testimony during direct or cross-examination regarding their

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 allegations of prosecutorial misconduct is granted.             (5)   The

 government’s motion to conditionally admit certain recorded

 conversations until the conclusion of the government’s case-in-

 chief is granted.     (6)   The government’s motion to admit Justice

 Kornreich’s August 4, 2010 Order against Dupree is denied.

 SO ORDERED.

 Dated: November 22, 2011
        Brooklyn, New York

                                          _________/s/________
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York




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